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 1                                                      THE HONORABLE ROBERT S. LASNIK

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                               UNITED STATES DISTRICT COURT
 9                            WESTERN DISTRICT OF WASHINGTON
                                        AT SEATTLE
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     KAELI GARNER, et al.,                          Case No.: 2:21-cv-00750-RSL
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                      Plaintiffs,                   NOTICE OF MOTION RE-NOTED FOR
12                                                  DEFENDANTS’ MOTION TO SEAL
            v.                                      PORTIONS OF REPLY BRIEF AND
13                                                  EXHIBITS IN SUPPORT OF MOTION
   AMAZON.COM, INC., a Delaware                     FOR PROTECTIVE ORDER (DKT. 205)
14 Corporation, and AMAZON.COM SERVICES
   LLC, a Delaware Limited Liability Company,       NOTE ON MOTION CALENDAR:
15                                                  September 29, 2023
                     Defendants.
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18          Pursuant to LCR 7(d)(3) and 7(l), Defendants Amazon.com, Inc. and Amazon.com

19 Services LLC re-note Defendants’ Motion to Seal Portions of Reply Brief and Exhibits in Support

20 of Motion for Protective Order (Dkt. 205) from September 22, 2023 to September 29, 2023.

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22 Dated: September 11, 2023                   Respectfully submitted,
                                               FENWICK & WEST LLP
23

24
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     CASE NO.: 2:21-CV-00750-RSL                                           SEATTLE, WASHINGTON 98101
             Case 2:21-cv-00750-RSL Document 209 Filed 09/11/23 Page 2 of 2



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                                            SERVICES, LLC
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     NOT. OF MOT. RE-NOTED                -2-                     FENWICK & WEST LLP
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     CASE NO.: 2:21-CV-00750-RSL                                   SEATTLE, WASHINGTON 98101
